                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District ofNew York
MELJRS                                             271 Cadman Plaza East
F. #2019R00382                                     Brooklyn, New York 11201



                                                   June 5, 2019

By E-mail


The Honorable Cheryl L. Pollak
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:    In re Searches of Cellular Telephones
                     Docket Nos. 19-MC-l 164 and 19-MC-1314         and 19-MC-1163

Dear Judge Pollak:

               The government respectfully submits this letter to request that the Court order
that the above-captioned matters be unsealed in their entirety.



                                                   Respectfully submitted,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney

                                           By:              /si
                                                  Jonathan Siegel
                                                  Assistant U.S. Attorney
                                                  (718)254-6293
Enclosure


cc:    Clerk of Court(by ECF)
MELJRS
F.# 2019R00382


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                  X


IN THE MATTER OF THE SEARCH OF THE
                                                      PROPOSED ORDER
CELLULAR TELEPHONES ASSIGNED (1)                      No. 19-MC-l 164
CALL NUMBER 201-283-7734, WITH
                                                      No. 19-MC-1163
INTERNATIONAL MOBILE SUBSCRIBER
IDENTITY NUMBER 354255097677993, AND                  No. 19-MC 1314
(2)CALL NUMBER 347-512-5605,

and


IN THE MATTER OF THE USE OF A CELL-
SITE SIMULATOR TO LOCATE THE
CELLULAR DEVICE ASSIGNED CALL
NUMBER 201-283-7734, WITH
INTERNATIONAL MOBILE SUBSCRIBER
IDENTITY NUMBER 354255097677993


                                                  X



              Upon the application of RICHARD P. DONOGHUE,United States Attorney

for the Eastern District of New York, by Assistant United States Attorney Jonathan Siegel,

for an order unsealing the above-caption matters in their entirety:

              WHEREFORE,it is ordered that the entire matters be unsealed.


Dated: Brooklyn, New York
         June 5, 2019




                                                                'BM.
                                            HONORABLE CHERYL L.POLLAK
                                            UNITED g^TES MAGISTRATE JUDGE
                                            EASTERN DISTRICT OF NEW YORK
